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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF GEORGIA
                                WAYCROSS DIVISION


 UNITED STATES OF AMERICA

          v.                                         CASE NO.: :5:21-cr-9-20

 BRETT BUSSEY,

                 Defendant.


                                    JOINT STATUS REPORT

I.       Date of Status Report Conference: March 26, 2024
II.      Conference Attendees:

                        Name                                        Role
          Thomas A. Withers                        Attorney for Defendant Brett Bussey
          AUSA Tania Groover                       Assistant U.S. Attorney

III.     Pretrial Motions.

☐        All pretrial motions have been satisfied or otherwise resolved.

☒        The parties have not resolved the following pretrial motions(s) and will require a ruling
         from the Court to settle the actual controversy or dispute:

                                                                                     Evidentiary
                                                                Oral Argument
       Motion Title and Docket Number             Opposed                             Hearing
                                                                  Requested
                                                                                     Requested
 Motion to Dismiss Mail Fraud Cts #631                Y                 Y                N
 Motion to Dismiss Court 53       #632                Y                 Y                N
 Motion for Bill of Particulars   #633                Y                 Y                N
 Motion to Suppress – Microsoft #637                  Y                 Y                Y
 Motion for Severance             #639                Y                 Y                N
 Motion for Return of Suntrust Acc # 640              Y                 Y                Y
 Motion to Suppress Wiretap        #651               Y                 Y                Y
 Motion to Suppress – Home etc     #694               Y                 Y                Y
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                Complete Remaining Portions Only In Judge Baker Cases

IV.   Are the parties prepared to proceed to trial? If so, list three potential dates for a
      telephonic status conference with the presiding District Judge. Yes/No

                               Dates for Telephonic Conference
                                       _______________
                                       _______________
                                       _______________

V.    Do the parties believe the case will result in a negotiated plea agreement and, if so, do the
      parties request additional time (not to exceed 30 days) for further plea negotiations and
      how much time do the parties request? Yes/No

                                Additional Time Requested
                        Unlikely the case will result in negotiated plea.




      This day March 26, 2024.



                                              /s/       Tania Groover
                                                        Assistant United States Attorney


                                              /s/        Thomas A. Withers
                                                        Defense Counsel




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